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                                                                                             8                                 UNITED STATES BANKRUPTCY COURT

                                                                                             9                                          DISTRICT OF NEVADA
                         1180 North Town Center Drive, Suite 100, Las Vegas, Nevada 89144




                                                                                            10       In re:                                       Case No. BK-S-16-16602-BTB
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                                                                                  Chapter 7
                                                                                            11       BRANDON MICHAEL D'HAENENS,
NELSON & HOUMAND, P.C.




                                                                                                                                                  SECOND STIPULATION TO EXTEND
                                                                                            12                       Debtor.                      DEADLINE TO OBJECT TO DEBTOR’S
                                                                                                                                                  EXEMPTIONS PURSUANT TO
                                                                                            13                                                    FEDERAL RULE OF BANKRUPTCY
                                                                                                                                                  PROCEDURE 4003
                                                                                            14
                                                                                                                                                  Date of Hearing:      N/A
                                                                                            15                                                    Time of Hearing:      N/A
                                                                                            16
                                                                                                                                                  Judge: Honorable Bruce T. Beesley1
                                                                                            17
                                                                                            18                SHELLEY D. KROHN, the duly appointed Chapter 7 Trustee in the above-captioned

                                                                                            19   bankruptcy case (the “Trustee”), by and through her counsel of record, Victoria L. Nelson, Esq.,

                                                                                            20   Jacob L. Houmand, Esq., and Kyle J. Ortiz, Esq. of the law firm of Nelson & Houmand, P.C., and

                                                                                            21   BRANDON MICHAEL D'HAENENS (the “Debtor”), by and through his counsel of record,

                                                                                            22   David J. Winterton, Esq. of the law firm David Winterton & Associates, Ltd. (the Trustee and the

                                                                                            23   Debtor shall be collectively referred to herein as the “Parties”), hereby stipulate and agree as

                                                                                            24   follows:

                                                                                            25
                                                                                                 1
                                                                                            26    Unless otherwise indicated, all chapter and section references are to the Bankruptcy Code, 11
                                                                                                 U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037. The
                                                                                            27   Federal Rules of Civil Procedure will be referred to as “FRCP” and the Federal Rules of
                                                                                                 Bankruptcy Procedure will be referred to as “FRBP.” The Local Rules of Practice for the United
                                                                                            28
                                                                                                 States Bankruptcy Court for the District of Nevada shall be referred to as the “Local Rules”.
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                                                                                             1                                          I.      RECITALS

                                                                                             2            1.    On December 13, 2016, the Debtor filed a voluntary bankruptcy petition pursuant

                                                                                             3   to Chapter 7 of Title 11 of the United States Code [ECF No. 1]2.

                                                                                             4            2.    On December 13, 2016, the Trustee was appointed as the Chapter 7 Trustee in the

                                                                                             5   Debtor’s bankruptcy case [ECF No. 2].

                                                                                             6            3.    On April 19, 2017, the Trustee concluded the Debtor’s Section 341(a) Meeting of

                                                                                             7   Creditors.

                                                                                             8            4.    Accordingly, the initial deadline for the Trustee to object to the Debtor’s

                                                                                             9   exemptions was May 19, 2017.
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                                                                                            10            5.    On May 16, 2017, the Parties entered into a Stipulation to Extend Deadline to
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                            11   Object to Debtor’s Exemptions Pursuant to Federal Rule of Bankruptcy Procedure 4003 [ECF
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                                                                                            12   No. 67] (the “First Exemption Stipulation”).

                                                                                            13            6.    The First Exemption Stipulation sought to extend the deadline for the Trustee to

                                                                                            14   file an objection to the Debtor’s exemptions from May 19, 2017, up to and including July 3, 2017.

                                                                                            15            7.    On May 17, 2017, the Court entered an Order Approving Stipulation to Extend

                                                                                            16   Deadline to Object to Debtor’s Exemptions Pursuant to Federal Rule of Bankruptcy Procedure

                                                                                            17   4003 [ECF No. 68].

                                                                                            18            8.    On July 3, 2017, the Trustee filed a Motion to Extend Deadline to File Objection to

                                                                                            19   Debtor’s Claim of Exemptions Pursuant to Federal Rule of Bankruptcy Procedure 4003 [ECF

                                                                                            20   No. 70] (the “Motion to Extend”), which sought to extend the deadline to object to the Debtor’s

                                                                                            21   exemptions from July 3, 2017, up to and including August 31, 2017.

                                                                                            22            9.    The hearing date scheduled for the Motion to Extend is August 3, 2017.

                                                                                            23            10.   The Parties have agreed to settle, among other things, any dispute concerning the

                                                                                            24   Debtor’s exemptions.

                                                                                            25            11.   The Parties are in the process of finalizing a settlement agreement and now seek a

                                                                                            26   further extension of the deadline for the Trustee to object to the Debtor’s exemptions to allow the

                                                                                            27
                                                                                                 2
                                                                                                   All references to “ECF No.” are to the numbers assigned to the documents filed in the case as
                                                                                            28
                                                                                                 they appear on the docket maintained by the clerk of the court.
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                                                                                             1   Court to determine whether to approve the compromise pursuant to Federal Rule of Bankruptcy

                                                                                             2   Procedure 9019.

                                                                                             3          12.     The Parties also seek to vacate the hearing date on the Motion to Extend as the

                                                                                             4   Parties have agreed to extend the deadline to object to the Debtor’s exemptions.

                                                                                             5                                        II.    STIPULATION

                                                                                             6          IT IS HEREBY STIPULATED AND AGREED that the deadline for the Trustee to file

                                                                                             7   an objection to the Debtor’s exemptions shall be continued from July 3, 2017, up to and including

                                                                                             8   August 31, 2017.

                                                                                             9          IT IS FURTHERE HEREBY STIPULATED AND AGREED that the hearing on the
                         1180 North Town Center Drive, Suite 100, Las Vegas, Nevada 89144




                                                                                            10   Motion to Extend scheduled for August 3, 2017, shall be vacated.
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                            11          IT IS FURTHER HEREBY STIPULATED AND AGREED that this Stipulation is
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                                                                                            12   without prejudice to any of the Parties requesting a further extension of time from the Court for

                                                                                            13   cause shown.

                                                                                            14   Dated this 10th day of July, 2017.               Dated this 10th day of July, 2017.

                                                                                            15   By: /s/ Jacob L. Houmand_______________          By: /s/ David J. Winterton______________
                                                                                                 Victoria L. Nelson, Esq. (NV Bar No. 5436)       David J. Winterton, Esq. (NV Bar No. 4142)
                                                                                            16   Jacob L. Houmand, Esq. (NV Bar No. 12781)        DAVID WINTERTON & ASSOCIATES LTD.
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                                                                                            17
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                                                                                                 Las Vegas, Nevada 89144
                                                                                            19   Counsel for Shelley D. Krohn, Chapter 7
                                                                                                 Trustee
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